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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                  AT LOUISVILLE

UNITED STATES OF AMERICA                                                          PLAINTIFF


v.                                             CRIMINAL ACTION NO. 3:23-CR-00014DJH


BRYAN DOUGLAS CONLEY                                                             DEFENDANT

                                   PROPOSED ORDER

       The Defendant Bryan Douglas Conley moved to dismiss Count 2 arguing prosecutorial

vindictiveness. The United States responded. The Defendant’s motion is denied.
